UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
-------------------------------------------------------------------------x
NATIONAL ASSOCIATION FOR THE ADVANCEMENT
OF COLORED PEOPLE STATE CONFERENCE OF
PENNSYLVANIA (“NAACP-SCP”), ELECTION REFORM
NETWORK, RICHARD BROWN, ANGEL COLEMAN,
and GENEVIEVE GEIS,

                                   Plaintiffs,                               08 Civ. ___________

                 –    against –

PEDRO A. CORTÉS, SECRETARY OF THE
COMMONWEALTH OF PENNSYLVANIA; and
CHET HARHUT, COMMISSIONER, BUREAU OF
COMMISSIONS, ELECTIONS AND LEGISLATION,
PENNSYLVANIA DEPARTMENT OF STATE,

                                    Defendants.
-------------------------------------------------------------------------x




                  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
                       MOTION FOR PRELIMINARY INJUNCTION




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                                                                  -v-
               Plaintiffs respectfully submit this Memorandum of Law in support of their

motion, pursuant to Rule 65 of the Federal Rules of Civil Procedure, for a preliminary injunction

requiring the Secretary of the Commonwealth Pedro Cortés (the “Secretary”) to issue and

enforce a directive to the county boards to (1) distribute emergency paper ballots to voters when

50% of voting machines break down in a precinct; and (2) by November 4, 2008, have available

emergency paper ballots representing at least 20% of registered voters in each precinct.

                                PRELIMINARY STATEMENT

               This civil rights action is brought to enforce the most fundamental right secured

by the United States Constitution: the right to vote. In Pennsylvania this year, an unprecedented

interest in voting, a record number of newly registered voters, and a well-established history

of widespread electronic voting machine failures have converged to create a perfect storm that,

left unaddressed, unquestionably will result in the disenfranchisement of substantial numbers of

citizens. Fortunately, the remedy for this grave threat to the franchise is simple and places only

the slightest of burdens on the State: the provision of emergency paper ballots when half or more

of the voting machines in any precinct are out of service.

               In the face of the extraordinary stresses that our Commonwealth’s election

apparatus will face this year, the Pennsylvania Secretary’s new Directive directing the use of

emergency paper ballots only if all of the voting machines in a precinct fail is nothing short of

perverse. It rests on the specious proposition that remedial action is only required in the most

dire of circumstances – no machines working at all – and that no remedy whatsoever is

appropriate where, as here, the record demonstrates that thousands of voters will be

disenfranchised when 67%, or even 50% of the machines break down.




                                            1
               Although state officials generally have wide discretion to administer elections in

the manner they see fit, this is the rare case in which the Secretary is playing with fire to a

constitutionally intolerable degree. Given the certainty that electronic voting machines will fail –

recognized by the state’s own certification expert – and the high degree of likelihood that

substantial numbers of precincts across the Commonwealth will suffer multiple failures

simultaneously, this court should direct the Secretary to ensure that local election officials

provide voters with paper ballots if 50% or more of the voting machines in a precinct

become inoperable. This modest intervention would allow all of those who wish to vote the

opportunity to do so in a timely way and without undue delay, while imposing only

a negligible burden on the Commonwealth and local election officials. In this historic year, with

the franchise directly imperiled, surely that is the least we should do.

               Secretary Cortés’s misguided Directive will cause irreparable harm: to

Pennsylvania’s voters, to presidential candidates in Pennsylvania, to the overall integrity of

Pennsylvania’s electoral process, and, given Pennsylvania’s vital role in this election, to the

integrity of the presidential election itself. Plaintiffs’ motion should be granted.

                                                 FACTS

       A.      The Electronic Voting Machines That Will Be Used in Pennsylvania on
               Election Day Are Prone to Breakdowns

               The fact that electronic voting machines are prone to errors in counting the votes

that have been cast is well established and has been widely reported. This case involves a

somewhat different but no less troubling issue: the demonstrated tendency of electronic voting

machines, including those that will be used in Pennsylvania on Election Day, to break down and

cease functioning altogether.




                                             2
               The federal Election Assistance Commission (“EAC”) has promulgated

performance standards that have been adopted by the Secretary and imposed upon all electronic

voting machines used in Pennsylvania. The EAC standards measure machine reliability in terms

of “mean time between failures” (“MTBF”) – that is, the average interval between system

failures or breakdowns. Section 3.4.3 of the EAC’s 2002 Voting System Performance and Test

Standards require that the MTBF shall be at least 163 hours. Lopresti Decl. ¶¶ 3, 15.

               Unfortunately, empirical research has demonstrated that electronic voting

machines are prone to break down and fail at rates far in excess of the established EAC

standards. One published and peer-reviewed research study conducted in 2005 by independent

computer scientists Matt Bishop, Loretta Guarino, David Jefferson, and David Wagner

concluded that an electronic voting machine that had been certified by the State of California had

failure rates over 10 times greater than the minimally-acceptable failure standards of MTBF for

electronic voting machines. Looking solely at software failures – which the researchers deemed

“more problematic” than hardware failures – the testing revealed failure rates approximately six

and a half times greater than minimally-acceptable federal standards of MTBF for electronic

voting machines. The Bishop study asserts that as many as 20% or more of DRE machines fail

during a typical election. Lopresti Decl. ¶¶ 13, 15, 17 (discussing “Analysis of Volume Testing

of the AccuVote TSx / AccuView,” Matt Bishop, Loretta Guarino, David Jefferson, and David

Wagner, October 2005, available at

http://www.sos.ca.gov/elections/voting_systems/vstaab_volume_test_report.pdf).

               Indeed, according to Dr. Michael Ian Shamos, a computer scientist at Carnegie

Mellon University who has served as the principal consultant to the Secretary on direct-recording

electronic voting machines (“DREs”) since 2004, “[v]oting machines are among the least reliable




                                           3
devices on this planet.” Voting as an Engineering Problem, Michael Shamos, The Bridge

(National Academy of Engineering), vol. 37, no. 2, 2007. Dr. Shamos – the Commonwealth’s

own expert – cites evidence that approximately 10% of DRE machines fail in some respect

during the average 13 hours they are in use on Election Day. Id.; Lopresti Decl. ¶ 17; Ex. 2.1

               Notably, even the EAC standards for mean time between failures – which the

Bishop study and Shamos paper demonstrate often are not met – tolerate failure rates of

approximately 8% during the course of a 13-hour election day. In other words, for a machine

that meets the federal MTBF standard of 163 hours, there still is an 8% chance that such a

machine will fail sometime during a 13-hour election day. Lopresti Decl. ¶ 21.

               The demonstrated unreliability of DREs has led California to decertify the use of

DREs with recertification only under limited conditions, and has led other states, such as Florida,

New Mexico, and Iowa, to similarly shift to optically-scanned paper ballot systems. See

California Secretary of State, “Top-to-Bottom Review,” available at

http://www.sos.ca.gov/elections/elections_vsr.htm.

               There currently are six different DREs in use in Pennsylvania: the Danaher 1242,

the Sequoia AVC Advantage, the Premier (formerly Diebold) AccuVote TSx, the ES&S

iVotronic, the Sequoia Edge, and the Hart InterCivic eSlate v 4.1.3. Lopresti Decl. ¶ 21; Ex. 2.

               It is overwhelmingly likely that these DREs will experience significant degrees of

failure on Election Day – most likely between 10% and 20% – that will impact the ability of

citizens meaningfully to exercise their fundamental right to vote.




1
         All exhibit citations herein refer to exhibits attached to the Declaration of Andrew G.
Celli, Jr., dated Oct. 22, 2008.




                                            4
       B.      DRE Failures Are Especially Problematic Because Virtually All Election
               Precincts in Pennsylvania Have No More Than Two or Three Machines

               There are approximately 9,329 individual election precincts in Pennsylvania.

Singer Decl. ¶ 2. The overwhelming majority of these individual precincts have two or at most

three DRE machines. Zisser First Decl. ¶ 4; Exs. 15-22.

               In Philadelphia County, for example, there are 1681 precincts. Of these 1681

precincts, four precincts have one machine, 1523 have two machines, 144 have three machines,

and one has five machines. In other words, 90.8% of the precincts in Philadelphia County have

two machines or less, and 99.4% have three machines or less. Zisser First Decl. ¶ 4; see also Ex.

19.

               Dr. Daniel P. Lopresti, a computer scientist at Lehigh University, has

demonstrated that the juxtaposition of these two basic facts – the fact that DREs have a 10% to

20% failure rate, coupled with the fact that the overwhelming majority of precincts have only

two or three machines – means that it is virtually certain that substantial numbers of precincts

will have half or more of their machines fail on Election Day. Lopresti Decl. ¶¶ 10, 17-22.

               As Dr. Lopresti’s analysis confirms, assuming a conservative breakdown rate of

10%, there is an 18% probability that a precinct with two machines will be operating at 50% of

its capacity by the end of Election Day. Assuming a 20% breakdown rate, there is a 32%

probability that a precinct with two machines will be operating at 50% of its capacity on Election

Day. Lopresti Decl. ¶¶ 18-19.




                                           5
        C.      The Near Certainty of Widespread DRE Failures Will Overwhelm an
                Already Extremely Taxed Election System

                Because of the unique circumstances of this moment in history, Pennsylvania’s

election system already is extremely taxed and barely would be able to handle the demands of

this presidential election even if there were no DRE failures.

                Pennsylvania has added nearly 400,000 newly registered voters to its rolls since

the April 22, 2008 primary alone. Ex. 25. Especially when coupled with the intense public

interest in this year’s presidential election and predictions of extremely high turnout, this

unprecedented level of political participation will put severe pressure on the ability of the system

to enable voters across the Commonwealth to cast their votes in an orderly fashion.

                Indeed, an alarming number of election precincts exceed (in many cases

dramatically) the cap on registered voters per precinct imposed by state law. Pennsylvania law

provides that individual precincts should not exceed 1,200 registered voters. 25 Pa. Stat. Ann. §

2702. Notwithstanding this state-imposed limit, 2,167 of Pennsylvania’s 9,329 election precincts

(over 23%) exceed 1,200 registered voters. Singer Decl. ¶ 3.

                The fact that Pennsylvania counties are so dramatically out of compliance with

the state-imposed maximum number of registered voters per precinct directly impacts the

likelihood that Pennsylvania voters will experience long lines when they arrive at their precincts

to vote. The purpose of the 1,200 person maximum is, in substantial part, to ensure that there

will be sufficient time during the voting day for each voter to cast his or her votes. It takes time,

after all, for each voter to be processed and to use the machine for the many elections and/or

issues on the ballot, and there are only 780 minutes in a 13-hour voting day. The more voters

that are assigned to a precinct, the greater the likelihood that there will be lines.




                                             6
               Moreover, not only do over 23% of Pennsylvania’s election precincts exceed the

state law cap on number of registered voters, but a substantial number of election precincts

violate state law with respect to the maximum number of voters per voting machine.

               According to a recent report prepared by the Advancement Project, “The End of

the Line? Preparing for a Surge in Voter Turnout in the November 2008 General Election,” the

confluence of these forces means that, even assuming that there are no voting machine

breakdowns, the margin of error for Pennsylvania voters is, at best exceedingly slim. Ex. 4.

Indeed, the Advancement Project report makes the sobering case that, even if every voting

machine in every precinct in Pennsylvania is fully operable from 7 a.m. until 8 p.m. on

November 4, 2008, many Pennsylvania precincts nonetheless will be overwhelmed by long lines

of voters. Ex. 4 at 16-17; Arroya-Mendoza Decl. ¶¶ 2-8.

               The Advancement Project report analyzed the allocation of voting equipment and

poll workers in four Pennsylvania counties: Philadelphia, Allegheny, Berks, and Montgomery.

Ex. 4 at 16-18. Pennsylvania law requires that when approving any electronic voting system, the

Secretary must issue a report which “shall specify . . . the number of voters who may reasonably

be accommodated by the voting devices.” 25 Pa. Stat. Ann. § 3031.5(b). Any county that adopts

one of these approved systems “shall provide the components of such system in a number no less

than sufficient to accommodate the voters of that county or municipality in accordance with the

minimum capacity standards so prescribed by the secretary.” Id. The Secretary determined that

five of the DREs can accommodate up to between 300 and 350 voters and that the remaining

DRE can accommodate up to 400 voters on one election day. The Advancement Project report

used three potential turnout estimates – ranging from most to least conservative – to determine




                                           7
whether these four counties have lived up to their statutory obligation to ensure the provision of

sufficient numbers of voting machines. Ex. 4 at 3 & Appendix.

               The results are telling. The Advancement Project report concluded that there will

be insufficient numbers of voting machines – and widespread long lines to vote – in all four

counties even if not a single voting machine breaks down. This is due to the fact that all four

counties are substantially out of compliance with 25 Pa. Stat. Ann. § 3031.5 even under the most

conservative turnout assumptions. Ex. 4 at 16-18; Arroya-Mendoza Decl. ¶ 2-8.

               Fanning the flames even further, neither the Secretary nor the counties has taken

adequate measures to ensure that poll workers are trained to handle inevitable DRE failures. Poll

workers are critical to the fair and orderly exercise of the franchise on election day.

Pennsylvania law requires that election and poll workers be trained. County Boards of Election

are required to instruct election officers in their duties to the end that elections may be honestly,

efficiently, and uniformly conducted. 25 Pa. Stat. Ann. § 2642(g). Judges and inspectors of

elections are not permitted to serve unless they have received adequate instruction in the use of

electronic voting machines and have been found qualified to perform their duties in connection

with the machine. 25 Pa. Stat. Ann. § 2684. Despite these requirements, there are no uniform

standards for training poll workers with respect to DRE failures and most Pennsylvania counties,

including the state’s biggest, Philadelphia, do not require poll workers to be regularly trained.

As a result of poll workers’ lack of training on DRE failures, when voting machines break, voters

are turned away from the polls or discouraged from voting as a result of extremely long lines.




                                             8
        D.      Past Experience Confirms that Pennsylvania Is Not Prepared to Handle
                Inevitable DRE Failures On Election Day

                Pennsylvania does not have any coordinated technical response plan for

responding to DRE failures on Election Day. Secretary Cortés has failed to develop and

disseminate guidelines for responding to DREs’ technical failures. Most, if not all, Pennsylvania

counties have inadequate technical response plans for responding to DRE failures. Recent

history is instructive.

                On April 22, 2008, Pennsylvania held a statewide primary election, which

included the presidential primary contest for both major political parties. Defendants were well

aware in advance of the election of the anticipated number of new and returning voters and,

indeed, accurately predicted the actual voter turnout (a turnout that greatly exceeded that of the

2004 primary election). Nonetheless, at polling places throughout the state, voters suffered the

consequences of the basic failure to provide an adequate number of working voting machines to

reasonably accommodate the registered voters in each precinct, resulting in unreasonably long

lines and waiting times to vote. Ex. 14, at 1-2; Ex. 13, at 2-3; Jones Decl. ¶¶ 7-10; Cook Decl. ¶¶

9-10, 12; Gideon Decl. ¶¶ 3-9; Brown Decl. ¶¶ 3-18; Coleman Decl. ¶¶ 6-14; Geis Decl. ¶¶ 2-9;

Dorn Decl. ¶¶ 3-11.

                Two national election protection hotlines (866-MYVOTE1 and 866-OURVOTE)

monitored Pennsylvania’s 2008 primary election and received calls from voters throughout the

Commonwealth reporting problems at voting precincts. All known hotlines monitoring the

election process – including the MYVOTE1/Watch the Vote Project, the OURVOTE Election

Protection Coalition, and the Philadelphia League of Women Voters – reported that voting

machine problems, equipment problems, and the lack of adequate and uniform emergency voting




                                            9
procedures were the primary sources of voting problems on primary day. Cook Decl. ¶¶ 9-10,

12; Gideon Decl. ¶¶ 3-9; Ex. 13 at 2-3. These problems were well documented and widely

reported by the news media. Id.

               Based on analysis of the hotline calls and interviews with individual voters and

election monitors, at least fifty different polling places in Pennsylvania experienced at least one

inoperable voting machine during the primary. Ex. 14 at 1-2; Ex. 13. In approximately thirty

different polling places, all of the voting machines were nonfunctional for some period of time.

Id.

               Many voters reported that they were not offered any form of paper emergency

ballot whatsoever. Many voters were told to wait in increasingly long lines (ranging from forty

to ninety minutes) before being offered a paper emergency ballot. Many voters from different

polling places reported that they were told to go home and return at a later time. Cook Decl. ¶

12; Brown Decl. ¶¶ 5-18; Coleman Decl. ¶¶ 6-14; Geis Decl. ¶¶ 3-9; Dorn Decl. ¶¶ 3-11; Jones

Decl. ¶ 7; Ex. 13 at 2-3.

               Moreover, analysis of hotline call data confirms that Pennsylvania counties do not

have the telecommunications capacity necessary on Election Day to handle the total call traffic

from either frustrated and stranded voters nor frustrated and stressed poll workers. Cook Decl. ¶

8, 15.

               The great majority of reports of serious machine malfunctions and inadequate

emergency ballot procedures came from precincts with high concentrations of poverty and

people of color. Statewide, the three counties with the largest populations of minority voters are

Philadelphia County, Allegheny County, and Delaware County. Approximately thirty-five

different polling places in Philadelphia alone experienced one or more inoperable voting




                                            10
machines, approximately sixteen of which were reported as having all machines inoperable.

Approximately ten polling places in Allegheny County experienced one or more inoperable

voting machines, approximately nine of which were reported as having all voting machines

inoperable. Approximately seven polling places in Delaware County experienced one or more

inoperable voting machines, approximately six of which were reported as having all voting

machines inoperable. Ex. 14 at 1-2.

               The experiences of the individual named Plaintiffs in this action are instructive.

Just six months ago, during the April 2008 primary, the Plaintiffs and other voters faced lines at

the polling sites up to two hours long as a result of non-operational machines, voters leaving the

precincts in frustration, and poll workers directing voters to “[c]ome back later” and failing to

offer any emergency paper ballots. These experiences attest to the confusion and

disenfranchisement which promises to recur on Election Day. See generally Brown Decl.;

Coleman Decl.; Geis Decl.; Dorn Decl.; Jones Decl. ¶¶ 7-10.

               Overall, the consistent pattern of calls documenting voting machine problems,

equipment problems, and the lack of adequate and uniform emergency voting procedures

received by the election protection hotlines reveals that these problems affected a significant

number of voters all across Pennsylvania. See, e.g., Ex. 14.

               The history of problems caused by DRE failures in Pennsylvania is by no means

limited to the 2008 primary. Jones Decl. ¶¶ 7-9. VotersUnite.org, Voter Action, and other

election integrity organizations have also documented widespread voting machine failures

leading to long lines and lost votes in the 2006 midterm elections in Pennsylvania. A report

entitled “E-Voting Failures in the 2006 Mid-Term Elections” sampled such problems across the

country – from telephone hotlines, news items, and other sources – and also focused specifically




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on Allegheny County in Pennsylvania. Ex. 5. The report found that there were many instances

of machine failures causing long lines, including non-working machines at 11 polling places

early on primary day, twenty units being taken out of service in polling places across the county

because of technical failures, and at least 42 machines breaking down at some point during the

day. Gideon Decl. ¶¶ 10-14; Ex. 5.

       E.      The Response of Election Officials to This Impending Crisis Has Been
               Woefully Inadequate

               (1) Local Officials

               In many counties, election officials have shown shocking and willful disregard for

voters’ fundamental right to vote. These officials have not adequately prepared plans for

responding to DRE failures and other problems that will cause long line at the polls.

               For example, Fred Voight, the Deputy Election Commissioner of Philadelphia

responds to questions about voter disenfranchisement due to long lines as follows: “Are there

lines? Of course there are. Tough. That’s the way it works.” “People are always going to have

to wait in line. I mean, get a life.” When asked if an emergency paper ballot could be used in

Philadelphia to alleviate long lines and overstressed polls, Voight stated: “Forget a long line. A

long line is not justification for anything except waiting.” See “Philly Official Scoffs at Voting

Problems,” available at www.americannewsproject.com/videos/155.

               Indeed, Loree Jones, formerly one of the highest ranking officials in the City of

Philadelphia – who served as the City’s First Deputy Managing Director and Chief of Staff to the

Managing Director (2002-2006); as Secretary of External Affairs (2006-2007); and as Managing

Director (2007) – confirms candidly that, in elections historically, voting machines regularly

break down at precincts throughout Philadelphia. Jones Decl. ¶ 7. Ms. Jones further confirms




                                           12
that these machine breakdowns cause long lines and that voters are turned away from the polls.

Id. She believes it is all but inevitable that, absent the prompt provision of emergency paper

ballots when 50% of the voting machines in a precinct are non-operational – which is virtually a

cost-free measure – these deplorable and avoidable conditions will recur on Election Day. Id. at

¶¶ 8-10.

               But the City Commissioners who are in charge of the Philadelphia election have

stated that they do not intend to provide emergency paper ballots when machines are inoperable

except to the extent mandated by the Secretary’s directive, i.e., only if all machines are down.

Zissner Second Decl. ¶¶ 2-4.

               (2) The Secretary’s Directive

               On August 26, 2008, a group of organizations, including civil rights and voting

rights groups, civic and religious organizations, grassroots, local, statewide, and national

organizations, wrote to the Pennsylvania Department of State and requested that the Secretary

issue a directive regarding the proper administration of emergency paper ballots. Ex. 23.

               The letter enclosed a Joint Statement on Emergency Ballots signed by the

Pennsylvania chapter of the American Civil Liberties Union, the Black Political Empowerment

Project, the Chester County Coalition for Voting Integrity, Common Cause, the Disability Rights

Network of Pennsylvania, the Election Reform Network, the League of Women Voters of

Pennsylvania, the National Coalition on Black Civic Participation, PA-Verified Voting, the

Pennsylvania Council of Churches, Pennsylvania Voice, the Philadelphia Coalition on Black

Civic Participation, the Public Interest Law Center of Philadelphia, The Time is Now to Make a

Change, the Urban League of Philadelphia, Voter Action, and Women Vote PA. Id.




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               The organizations requested that the Secretary issue a directive establishing four

guidelines:

       a.      Emergency paper ballots must be offered to voters as soon as half of the voting

machines in a precinct are not functioning.

       b.      Emergency paper ballots must be clearly distinguished from provisional and other

ballots. Emergency ballots should be marked on the outside as “Emergency Ballots” and

“Machines down” or other reason.

       c.      Emergency paper ballots must be treated as regular (not provisional) paper

ballots. No emergency ballot should be rejected because it is missing any information that may

be required of provisional ballots, but is not required of qualified registered voters who had to

vote by emergency ballot.

       d.      Counties must properly train their poll workers in these procedures. Id. at 1.

               The organizations explained that these measures were necessary to prevent the

widespread divergence in procedures at precincts where voting machines became inoperable

during the Pennsylvania primary election, as well as to prevent voters from enduring substantial

burdens on their right to vote, in many cases resulting in effective disenfranchisement. The

organizations also explained that the substantial burdens and effective disenfranchisement

occurred primarily in areas with higher than average populations of people of color and people

living in poverty. Id.

               On September 3, 2008, the Secretary issued a “Directive Concerning the Use,

Implementation and Operation of Electronic Voting Systems by the County Boards of Elections”

(the “Directive”). Ex. 24. The Directive fails to address many of the concerns raised by the




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organizations and falls far short of providing adequate safeguards to Pennsylvania citizens’

fundamental right to vote in the event of electronic voting machine failure.

               The Directive requires the distribution of “emergency back-up paper ballots” only

if all electronic voting machines at a polling place are inoperable. Further, the Directive only

permits the use of emergency back-up paper ballots until any machine is repaired or replaced,

regardless of the condition of the remainder of the machines at the precinct. Id.

               The Directive requiring the distribution of emergency paper ballots only when

100% of the voting machines at a polling place are inoperable will, with near certainty, result in

unequal access to the right to vote. As Dr. Lopresti has demonstrated, the constitutional flaw in

the 100% rule is that it entirely ignores the probability and negative impact of fewer than all of

the machines failing and being out of service at the same time – which, statistically, is far more

likely to occur than a simultaneous failure of all machines at once. Lopresti Decl. ¶ 12. In those

cases where fewer than all machines fail at once, the 100% rule means that a precinct must

function at dramatically lower voting capacity than the Commonwealth or local officials

previously deemed appropriate. The 100% rule only provides assistance in the most extreme

cases of a catastrophic precinct-wide failure of all machines, but provides no assistance

whatsoever in the far more likely circumstance – perhaps a probability of between 18% and 32%

for the overwhelming majority of precincts that have two machines – that a breakdown of fewer

than all available machines occurs. Lopresti Decl. ¶¶ 12-13, 18-20.

               (3) The Secretary’s Memorandum

               In August 2008, Secretary Cortés issued a memorandum on emergency paper

ballots (“the Memorandum”). Ex. 26. The Memorandum states: “We believe that providing to

each election district a number of emergency paper ballots equal to 20% of the number of




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registered electors in each district is a reasonable formula for determining how many emergency

paper ballots to make available on location at each election district.” Id. The Memorandum also

states: “there could be an unprecedented turnout in this year’s General Election. Id. Therefore,

it would not be prudent to rely solely on historical turnout figures for general elections when

calculating the number of emergency paper ballots to distribute.” Id.

                 This Memorandum, recommending that a precinct has sufficient emergency paper

ballots for at least 20% of its voters, is not binding on the counties. Although a directive issued

by the Secretary does bind the counties, a memorandum does not.


                                           ARGUMENT

                     THE COURT SHOULD ISSUE A PRELIMINARY INJUNCTION

                 In ruling on this preliminary injunction motion, the Court must consider four

factors: (1) whether plaintiffs have a strong likelihood of success on the merits; (2) whether

plaintiffs would suffer irreparable injury without the injunction; (3) whether issuance of the

injunction would result in an even greater harm to the nonmoving party; and (4) whether the

public interest would be served by issuance of the injunction. Child Evangelism Fellowship of

New Jersey, Inc. v. Stafford Twshp. Sch. Dist., 386 F.3d 514, 524 (3d Cir. 2004) (Alito, J.)

(affirming grant of preliminary injunction and remanding for entry of permanent injunctive

relief); Cooper v. City of Philadelphia, 18th Dist., No. 93-3007, 1993 WL 274192, at *1 (E.D.Pa.

July 2, 1993).

                 Because plaintiffs have a clear and substantial likelihood of prevailing on the

merits and because the failure to modify the Directive would violate plaintiffs’ constitutional

rights and cause irreparable harm, this Court should issue a preliminary injunction ordering the




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Secretary to order election officials statewide to (1) provide paper ballots to voters when 50% or

more of the machines in a precinct are out of service, and (2) have available paper ballots equal

to 20% of registered voters in the precinct.

I.      PLAINTIFFS’ CLAIMS ARE LIKELY TO SUCCEED ON THE MERITS

                To prevail on their 42 U.S.C. § 1983 claims, plaintiffs must demonstrate that the

Secretary (1) acted under color of state law; and (2) deprived plaintiffs of a federal right, either

statutory or constitutional. Shaw by Strain v. Strackhouse, 920 F.2d 1135, 1141-42 (3d Cir.

1990). Here, there is no dispute that Secretary Cortés has at all times relevant to this case acted

“under color” of Pennsylvania law. Nor can there be much dispute that the Secretary’s failure to

ensure the right to vote violates plaintiffs’ federal constitutional rights.

        A.      The Secretary is Violating the Equal Protection Clause of the Fourteenth
                Amendment

                Secretary Cortés’s Directive and Memorandum violate plaintiffs’ constitutional

right to vote. “The right to vote freely for the candidate of one’s choice is of the essence of a

democratic society, and any restrictions on that right strike at the heart of representative

government.” Reynolds v. Sims, 377 U.S. 533, 555 (1964); Yick Wo v. Hopkins, 118 U.S. 356,

370 (1886) (“the political franchise of voting” is a “fundamental political right, because [it is]

preservative of all rights.”). “Undeniably the Constitution of the United States protects the right

of all qualified citizens to vote, in state as well as in federal elections. A consistent line of

decisions by this Court in cases involving attempts to deny or restrict the right of suffrage has

made this indelibly clear. It has been repeatedly recognized that all qualified voters have a

constitutionally protected right to vote, . . . and to have their votes counted.” Reynolds, 377 U.S.

at 554 (collecting cases). “Obviously included within the right to choose, secured by the




                                               17
Constitution, is the right of qualified voters within a state to cast their ballots and have them

counted . . . .” United States v. Classic, 313 U.S. 299, 315 (1941).

                The Supreme Court has time and again upheld these core principles: “When the

state legislature vests the right to vote for President in its people, the right to vote as the

legislature has prescribed is fundamental.” Bush v. Gore, 531 U.S. 98, 104 (2000). “The right to

vote is protected in more than the initial allocation of the franchise. Equal protection applies as

well to the manner of its exercise.” Id.

                In election cases, the Third Circuit Court of Appeals described the constitutional

test as follows: “[u]ltimately, [the Court’s] scrutiny is a weighing process: We consider what

burden is placed on the rights which plaintiffs seek to assert and then we balance that burden

against the precise interests identified by the state and the extent to which these interests require

that plaintiffs’ rights be burdened. Only after weighing these factors can we decide whether the

challenged [action] is unconstitutional.” Rogers v. Corbett, 468 F.3d 188, 194 (3d Cir. 2006).

                Here, the burdens placed on plaintiffs’ rights are immense. First, the right itself is

the most “fundamental political right,” because it is “preservative of all rights.” Yick Wo, 118

U.S. at 370. And as demonstrated supra, there is a very substantial danger, in fact a virtual

certainty, that thousands of voters will lose their right to vote because of defendants’ failure to

order a modest remedial measure. In the 2008 primary, hundreds of voters were turned away

from the polls, or gave up after waiting hour after hour on line for a chance to vote—all

problems that could have been avoided had the Commonwealth effectively addressed the

inevitable issue of machine breakdown.




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               The Court must balance this terrible burden upon the most precious right in a

democracy—the right to vote—against an as-yet undefined state interest. Surely the

Commonwealth has no interest in denying the franchise. What, then, is the state interest?

               Viewed against the extremely modest and tailored relief plaintiffs seek, it is

difficult to imagine any non-minimal state interest. Plaintiffs seek two pieces of discrete relief.

First, under the Directive, poll workers are not directed to distribute emergency paper ballots

unless none of the electronic voting machines in a precinct is operable. This Directive does

nothing to address the massive problems at the polls that will occur, and that have occurred,

when 67% of the machines do not work, or 50%. Plaintiffs request that the Court modify the

Directive, so that if 50% or more of electronic voting machines in a precinct are inoperable, poll

workers must distribute emergency paper ballots. Though the change is costless and simple to

implement, it is significant. As set forth supra, the evidence suggests there is an 18-32%

possibility that a precinct with two machines (which includes 90% of precincts in Philadelphia

County alone) will operate at 50% capacity. We also know that where precincts are at 50%

capacity (or even at 67% capacity), there will be chaos at the polls, prohibitively long lines, and

thousands of disenfranchised voters on Election Day. This was true in the 2008 primary, and it

will be even more true on Election Day, given the 400,000 newly registered voters, the

unprecedented interest in this election, the already-insufficient number of voting machines, and

the predictions of extremely high turnout. By the State’s own admission, and given that so many

precincts already have more registered voters per machine than are permitted under

Pennsylvania law, a 50% failure rate at a polling place will mean chaos and an inability to

process voters whom (even in normal circumstances) the Commonwealth expects to vote.




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               Why, then, wouldn’t the Commonwealth direct that paper ballots be distributed to

voters if 50% or more of the machines break down? Each precinct is already required to have

paper ballots on hand, and to use them if all the machines break down. Requiring the

distribution of emergency paper ballots in the 50% breakdown scenario is a minimal burden

indeed.

               Plaintiffs’ second request for relief also implicates no significant state interest.

Under the Memorandum, precincts may order a number of paper ballots equal to 20% of

registered voters in the precinct. This elective Memorandum is an invitation to disaster. No

precinct can predict with certainty which machines, or how many machines, will break down. If

50% of machines break down in two different precincts, but the first precinct ordered paper

ballots for 30% of registered voters and the second for only 5%, there will be enough ballots in

the first precinct for voters, but not in the second. Why should the right to vote depend upon the

varying, arbitrary decisions made at hundreds of different precincts?

               Accordingly, plaintiffs’ second request for relief is modest and straightforward:

make the elective Memorandum mandatory and therefore uniform (instead of completely

arbitrary). This relief poses only a minimal burden on the Commonwealth: the cost of copying

and distributing a few more paper ballots. The Memorandum already advises that each precinct

secure ballots for 20% of registered voters; making the Memorandum mandatory could hardly be

a significant burden. In any event, the idea that an American citizen’s right to vote for President

will be lost because of the modest printing cost of a few more ballots is not only intolerable; it is

embarrassing to American democracy. See, e.g., Duncan v. Poythress, 515 F.Supp. 327,

342 (D.C.Ga. 1981), aff’d 657 F.2d 691, 708 (5th Cir. 1981) (“The cost to the state of holding [a

new] election certainly is, or should be, a matter of concern for all citizens of this state;




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nevertheless, it is not a sufficiently compelling reason to deny plaintiffs the relief they seek. The

restoration of the plaintiffs’ right to vote outweighs the public expenditure involved.”) (emphasis

added).

                Plaintiffs’ request for relief is quite modest compared to the relief ordered by

courts in prior similar cases. The case most on point is Ury v. Santee, 303 F.Supp. 119 (D.C.Ill.

1969). There, voters were “forced to wait unreasonable lengths of time to obtain and cast their

ballots in certain of the precincts . . . as a result of the consolidation of 32 precincts into six

precincts, because of the assignment of excessive numbers of registered voters to the precincts,

the establishment of inadequate voting facilities and the failure to provide sufficient numbers of

judges to service such polling places.” Voters were “[i]n many instances . . . required to wait for

periods of two to four hours to cast their ballots.” As a result of defendants’ actions

(consolidating 32 precincts into six precincts and the assignment of excessive numbers of voters

to a single precinct), “hundreds of voters were effectively deprived of their right to vote” in the

election. Id. at 124.

                Because of these two to four hour waits, which led to the disenfranchisement of

“hundreds” of voters, the court concluded that the Village violated plaintiffs’ right to vote, and

nullified the entire election. “It was the duty of defendants as the responsible officers and

trustees of the Village of Wilmette to provide adequate and substantially equal voting facilities to

the citizens of Wilmette. . . . As a consequence of the failure of defendants to provide adequate

voting facilities, plaintiffs and those similarly situated were hindered, delayed and effectively

deprived of their rights secured by the Constitution of the United States to vote in the April 15,

1969 election.” Id. at 126. The Court held that “United States citizens . . . have a right

guaranteed by the Constitution to a reasonable opportunity to vote in local elections, that is, to be




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given reasonable access to the voting place.” Id. Having caused unreasonably long lines

through actions that could have been prevented, the Village denied voters that right and, as a

result, the Court declared the entire election “invalid, null, void and of no effect,” and ordered a

new general election “at the earliest possible date.” Id. at 127.

                The Secretary’s actions here are, if anything, far more problematic than in Ury.

Here, potentially thousands of voters may be disenfranchised. Lines could well be much longer

than two to four hours. And the electoral stakes could not be higher: no less than the nation’s

highest office is at stake. Cf. Donohue v. Board of Elections of State of New York, 435 F. Supp.

957, 968 (E.D.N.Y. 1976) (“The fact that a national election might require judicial intervention,

concomitantly implicating the interests of the entire nation, if anything, militates in favor of

interpreting the equity jurisdiction of the federal courts to include challenges to Presidential

elections.”).

                In Ury, the Court waited until after the election to nullify the election. That

would be a disastrous result here. One need only recall the chaos and confusion of the 2000

fiasco in Florida to understand the importance of securing the vote prior to the election, not after.

                Perhaps recognizing that post-election relief can be unworkable, a district court

recently held that plaintiffs similarly situated to those here are entitled to pursue prospective

injunctive relief “to prevent a repeat of . . . systemic breakdowns of the voting process.” League

of Women Voters of Ohio v. Blackwell, 432 F.Supp.2d 723, 726 (N.D. Oh. 2005).2 In Blackwell,

the plaintiffs alleged that Ohio’s election system violates the Constitution’s equal protection

guarantees because voters effectively had unequal access to the polls. Plaintiffs alleged that, as a
2
        The opinion has been certified for appeal. See League of Women Voters of Ohio v.
Blackwell, No. 05-7309, 2006 WL 1580032 (N.D. Ohio Feb. 10, 2006) (certifying issues for
interlocutory appeal).




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result of the conduct of Ohio’s governor and secretary of state, “[s]ome citizens get short lines,

properly functioning voting machines, well trained and informed poll workers, accurate

registration information, and the opportunity to cast unencumbered absentee or proper

provisional ballots. Other citizens, due to the vagaries of residence and registration, encounter

long lines, defective voting machines, ill-trained and uniformed poll workers, inaccurate

registration information, and absentee or provisional ballots that are ultimately deemed invalid.”

Id. at 727.

               The Blackwell defendants claimed that plaintiffs could not, as a matter of law,

pursue prospective injunctive relief for these systemic problems, but rather should be limited to

“seek[ing] redress . . . with the local [board of elections]” for their “specific problem[].” Id. at

728. The Court disagreed: “[State] [i]naction that diminishes the right to vote equally may be . . .

actionable. . . . A state’s failure to exercise [its] power, where such inaction foreseeably impairs

the fair and equal exercise of the franchise, gives rise to an equal protection claim.” Id.

               This case is much more straightforward than Blackwell. Here, plaintiffs do not

seek wholesale prospective reform. Instead, plaintiffs seek two extremely modest and tailored

directives to prevent the disenfranchisement of thousands of voters: (1) a directive that if 50% or

more of electronic voting machines in a precinct are inoperable, poll workers must distribute

emergency paper ballots; and (2) a directive requiring precincts to have paper ballots equal to

20% of registered voters in the precinct. Failure to make these modest changes will likely lead to

disenfranchisement of thousands of voters, an intolerable result in a democracy.

               Plaintiffs’ motion for a preliminary injunction should be granted.




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       B.      The Secretary is Violating the Due Process Clause of the Fourteenth
               Amendment

               The Secretary’s Directive and Memorandum also violate the Substantive Due

Process Clause of the Fourteenth Amendment. Under the Constitution, citizens have a

fundamental right to vote and to have their vote counted by way of election procedures that are

fundamentally fair. United States v. Mosley, 238 U.S. 383, 386 (1915); Griffin v. Burns, 570

F.2d 1065 (1st Cir. 1978). The touchstone of Due Process Clause analysis is “fundamental

fairness”—the idea that the state official cannot conduct an election in a manner so flawed as to

amount to a denial of voters’ rights to have their voices heard and their votes count. The Court

cannot countenance the Secretary’s failure (in the face of overwhelming evidence) to deal with

the disenfranchisement caused by machine breakdown.

               Where “organic failures in a state or local election process threaten to work patent

and fundamental unfairness, a . . . claim lies for a violation of substantive due process.” Bonas v.

Town of N. Smithfield, 265 F.3d 69, 74 (1st Cir. 2001); see also Marks v. Stinson, 19 F.3d 873,

888 (3d Cir. 1994) (substantive due process violation exists where there is a “broad-gauged

unfairness” that infects the results of an election); Duncan v. Poythress, 657 F.2d 691, 700 (5th

Cir. 1981) (“the due process clause of the fourteenth amendment prohibits action by state

officials which seriously undermine the fundamental fairness of the electoral process”); Griffin v.

Burns, 570 F.2d 1065, 1077 (1st Cir. 1978) (“If the election process itself reaches the point of

patent and fundamental unfairness, a violation of the due process clause may be indicated and

relief under § 1983 therefore in order”); Siegel v. LePore, 234 F.3d 1163, 1187 (11th Cir. 2000)

(a federally protected right is implicated “where the entire election process including — as part




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thereof the state’s administrative and judicial corrective process — fails on its face to afford

fundamental fairness”) (citations omitted).

                In the seminal case Griffin v. Burns, 570 F.2d 1065 (1st Cir. 1978), the First

Circuit explained when federal courts would act to prevent a violation of due process in the

context of election irregularities:

                  [Federal courts have properly intervened when] the attack was, broadly,
                  upon the fairness of the official terms and procedures under which the
                  election was conducted. The federal courts were not asked to count and
                  validate ballots and enter into the details of the administration of the
                  election. Rather they were confronted with an officially-sponsored
                  election procedure which, in its basic aspect, was flawed. Due process,
                  ‘(r)epresenting a profound attitude of fairness between man and man,
                  and more particularly between individual and government,’ . . . is
                  implicated in such a situation. . . . In cases falling within such confines,
                  we think that a federal judge need not be timid, but may and should do
                  what common sense and justice require.

Griffin, 570 F.2d at 1078 (quoting Joint Anti-Fascist Refugee Comm. v. McGrath, 341 U.S. 123

(1951) (Frankfurter, J., concurring)).

                The Directive and Memorandum are similarly fundamentally flawed. It is absurd

that some precincts may have enough ballots to vote, while others will not. It is absurd that

voters may have to wait two or three (or more) hours to vote because 50%, or 67%, of the

machines in a precinct failed and the precinct refused to distribute paper ballots. It is absurd that

the Commonwealth would knowingly permit any chance of disenfranchising voters because it

refused to take the simplest of measures to protect the vote. It is absurd, and it is

unconstitutional. See supra.

                The Due Process Clause protects against arbitrary conduct likely to deny the

franchise. Here there are simple, and largely costless, measures that can be taken to minimize




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the likelihood that voters will be effectively turned away out the polls. Plaintiffs’ modest request

for relief should be granted.

        C.      The Secretary is Violating the First Amendment

                The Secretary’s Directive and Memorandum also violate plaintiffs’ First

Amendment rights to freedom of speech and association. “No right is more precious in a free

country than that of having a voice in the election of those who make the laws under which, as

good citizens, we must live. Other rights, even the most basic, are illusory if the right to vote is

undermined.” Wesberry v. Sanders, 376 U.S. 1, 17 (1964). Elsewhere, the Supreme Court has

observed, “the right of individuals to associate for the advancement of political beliefs, and the

right of qualified voters . . . to cast their votes effectively . . . rank among our most precious

freedoms.” Williams v. Rhodes, 393 U.S. 23, 30 (1968). This right to have a voice in the

election and to cast votes effectively is rooted not only in the Fourteenth Amendment; it is also

rooted in the First Amendment. NAACP v. Alabama, 357 U.S. 449, 460 (1958) (it is “beyond

debate that freedom to engage in association for the advancement of beliefs and ideas is an

inseparable aspect of the ‘liberty’ assured by the Due Process Clause of the Fourteenth

Amendment, which embraces freedom of speech”).

                In an election, “voters can assert their preferences only through candidates or

parties or both.” Anderson v. Celebrezze, 460 U.S. 780, 787 (1983). Thus, this First

Amendment right is “heavily burdened” where the voters’ candidate of choice is not on the

ballot. Id. Ballot-access cases are therefore typically analyzed through a First Amendment lens.

See, e.g., id.; Illinois Elections Bd. v. Socialist Workers Party, 440 U.S., 173, 186 (1979) (“an

election campaign is a means of disseminating ideas as well as attaining political office . . . .

Overbroad restrictions on ballot access jeopardize this form of political expression”); see also




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Buckley v. Am. Constitutional Law Found., Inc., 525 U.S. 182 (1999) (striking down various

restrictions on gathering of initiative petitions). “The exclusion of candidates [from the ballot]

burdens voters’ freedom of association, because an election campaign is an effective platform for

the expression of views on the issues of the day, and a candidate serves as a rallying point for

like-minded citizens.” Anderson, 460 U.S. at 787-88.

               Just as excluding candidates from the ballot “burdens voters’ freedom of

association,” id., so too does the exclusion of actual votes for a candidate. Just as “[t]he right to

form a party for the advancement of political goals means little if a party can be kept off the

election ballot,” Williams, 393 U.S. at 31, the right of a party or candidate to be on the ballot

means little if voters cannot vote for that party or candidate. In the former case, the voter cannot

associate with the candidate because the candidate is not on the ballot. In the latter, the voter

cannot associate with the candidate because the voter cannot get to the ballot box. In both cases,

the voter’s right to associate with a candidate is not only “burdened,” but eviscerated.

               Where, as here, the First Amendment rights of voters and candidates “are at

stake,” the Secretary “must establish” that the state’s actions are “necessary to serve a

compelling interest.” Illinois Elections Bd., 440 U.S. at 184. But when some of the machines

break down, no compelling interest is served by forcing voters to stand for two to three (or more)

hours, when precincts could easily let voters vote by paper ballot. No compelling interest is

served by running out of paper ballots in a precinct. No compelling interest is served by making

voting a crapshoot, dependent upon the vagaries of machine breakdown and the local decisions

of hundreds of precincts, some which ordered sufficient paper ballots and others which did not.

               “[T]he right of qualified voters . . . to cast their votes effectively . . . rank[s]

among our most precious freedoms.” Williams, 393 U.S. at 30. Secretary Cortés should be




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enjoined to make paper ballots available as set forth above so that all voters, not just those lucky

enough to be in a precinct where the machines do not break down, are ensured the right to vote.


II.    PLAINTIFFS WILL SUFFER DEVASTATING HARM THAT CAN BE REMEDIED ONLY BY AN
       ORDER BEFORE THE ELECTION

               Because plaintiffs have demonstrated a likelihood of success on the merits, the

Court’s inquiry is effectively at an end. Where constitutional rights are concerned, a successful

showing of likelihood of success on the merits mandates a finding of irreparable harm. Elrod v.

Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment freedoms, for even minimal

periods of time, unquestionably constitutes irreparable injury.”); Forum for Academic and

Institutional Rights (“FAIR”) v. Rumsfeld, 390 F.3d 219, 246 (3d Cir. 2004) (“By establishing a

likelihood of success on the merits of its unconstitutional claim . . . [plaintiff] has necessarily

satisfied the second element: irreparable harm.”), rev’d on other grounds, 547 U.S. 47 (2006);

ACLU v. Reno, 217 F.3d 162, 180 (3d Cir. 2000), vacated on other grounds, Ashcroft v. ACLU,

535 U.S. 564 (2002); Lewis v. Kugler, 446 F.2d 1343, 1350 n.12 (3d Cir. 1971) (deprivation of

constitutional rights raises “presumption of irreparable harm”); McCormick v. Hirsch, 460 F.

Supp. 1337, 1349 (M.D. Pa. 1978).

               Even without such a presumption, plaintiffs have shown that they will suffer

irreparable harm absent immediate court intervention. “The irreparable harm requirement is met

if a plaintiff demonstrates a significant risk that he or she will experience harm that cannot

adequately be compensated after the fact by monetary damages.” Adams v. Freedom Forge

Corp., 204 F.3d 475, 484-85 (3d Cir. 2000). No monetary damages, retroactive relief or

settlement could make any difference if voters are denied the right to vote. Unless this Court

intervenes now, there is a substantial risk that thousands of voter in Pennsylvania will be




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deprived access to the ballot box. Nothing the Court does after Election Day (short of

demanding a new election, see, e.g., Ury, 303 F.Supp. 119) will change that irreparable fact.


III.    THE INJUNCTION WOULD NOT CAUSE EVEN GREATER HARM TO THE DEFENDANTS

                Defendants cannot claim any harm resulting from this injunction, let alone “even

greater harm” than that suffered by plaintiffs in the absence of the injunction. Child Evangelism

Fellowship, 386 F.3d at 524. Without an injunction, many voters will be denied the right to vote,

which would cause harm to Pennsylvania’s voters, to the Presidential candidates, to the integrity

of Pennsylvania’s electoral process, and, given Pennsylvania’s important role in this election, to

the integrity of the Presidential election itself. Defendants, “on the other hand, do[] not lose the

opportunity, in a proceeding on the merits, to shoulder [their] full constitutional burden of proof

of showing that a less restrictive alternative would not be as effective” in safeguarding citizens’

access to the franchise. FAIR, 390 F.3d at 246. The balance of interests tips overwhelmingly in

plaintiffs’ favor. Id.


IV.     THE PUBLIC INTEREST WOULD BE SERVED BY THE INJUNCTION

                There is no question where the public interest lies in this case. The public is not

served by any denial of the right to vote. It is served only by fair process that allows every voter

to vote at the polls on Election Day. The public interest would plainly be served by the

injunction.




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                                       CONCLUSION

              For all the foregoing reasons, plaintiffs’ motion for a preliminary injunction

should be granted.


Dated:        Philadelphia, Pennsylvania

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